Case 04-10427-reg Doc 569-3 Filed 03/07/05 Page 1of9

ICE:

LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 502553 Page 1
Foundry, Inc. November 9, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH October 31, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0005
Case Administration
Auburn Foundry, Ine. Chapter 11 Bankruptcy Case

10/05/04 Investigated status of Order on Fee Application (.1);
reviewed July and August Financial Reports (.3).

H. Efroymson .40 hrs. 355.00/hr § 142.00
10/08/04 Prepared Notice of Interim Statement and letter to counsel

{(.2).

H. Efroymson .20 hrs. 355.00/hr § 71.00
10/12/04 Checked docket, and reviewed court entries on submission

of invoices (.1).

H. Efroymson -10 hrs. 355.00/hr § 35.50
10/13/04 Revised Motion filed by Debtor related to Ernst & Young

payments, and notice on same (.2); reviewed Baker &
Daniels Fee Order (.1); reviewed Ice miller Fee Order from
Court, and communications with attorney for Debtor
regarding same, status of case (.2); communications from
committee member and to attorney for Debtors regarding
closing and layoff rumors (.3); reviewed news report of

same (.2).

H. Efroymson 1.00 hrs. 355.00/hr § 355.00
10/14/04 Reviewed Baker & Daniels' itemized statement (.2).

H. Efroymson .20 hrs. 355.00/hr §$ 71.00
10/26/04 Reviewed itemized statement filed by attorneys for Debtor,

and communicated with attorney for Debtor and with
Committee regarding same.

H. Efroymson .60 hrs. 355.00/hr § 213.00
10/28/04 Communications with attorney for Debtor regarding concerns

over status and fees (.3).

H. Efroymson -30 hrs. 355.00/hr § 106.50

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Unsecured Creditors' Cc ittee of Auburn
Foundry, Inc.

Summary of Fees

Page 2 of 9

Invoice 502553 Page 2

Hours Rate/Hr Dollars

H. Efroymson 2.80 355.00 994.00

TOTAL 2.80 355.00 994.00
TOTAL Fees for Professional Services ......... ccc ec cece cee eee eevee $ 994.00
TOTAL DUE FOR THIS MATTER ..... 0... cece e eee e eee cence ee eeeeeees $ 994.00
PLEASE REMIT TOTAL INVOICE BALANCE DUE .......... ccc ec eee cece cee ccceecee. $ 994.00

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 569-3 Filed 03/07/05 Page 3 of 9

REMITTANCE PAGE

SUBMIT REMITTANCE TO:

ICE MILLER

P.O. BOX 663633
Indiana 46266

Indianapolis,

(317) 236-5836

CLIENT NAME:

MATTER TITLE:

MATTER #:

INVOICE #:

PLEASE REMIT TOTAL INVOICE BALANCE DUE

Unsecured Creditors' Committee of Auburn Foundry, Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

Case Administration
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

21926.0005

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ACCOUNTS ARE DUE UPON RECEIPT

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994.00
Case 04-10427-reg Doc 569-3 Filed 03/07/05 Page 4of9

LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 502554 Page 1
Foundry, Inc. November 9, 2004
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH October 31, 2004
Federal ID #XX-XXXXXXX

OUR MATTER # 21926.0010
Financing
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

10/18/04 Reviewed proposed adequate protection stipulation from

counsel for bank, and responded (.5).

H. Efroymson .50 hrs. 355.00/hr § 177.50
10/19/04 Continued negotiations over terms of adequate protection

entry and cash collateral stipulation (.5).

H. Efroymson -50 hrs. 355.00/hr $ 177.50
10/22/04 Reviewed Stipulation and Order on Adequate Protection from

Court (.2).

H. Efroymson .20 hrs. 355.00/hr §$ 71.00
10/25/04 Reviewed Financing Motions filed with the Court (with loan

documents), and proposed Orders and Notices (1.0).

H. Efroymson 1.00 hrs. 355.00/hr §$ 355.00
10/27/04 Reviewed Amended Notices on Financing Motion and Cash

Collateral Motion, and dated up (.2).

H. Efroymson -20 hrs. 355.00/hr § 71.00

Summary of Fees

Hours Rate/Hr Dollars

H. Efroymson 2.40 355.00 852.00

TOTAL 2.40 355.00 852.00
TOTAL Fees for Professional Services ....... 0... cece cece cece e cece. $ 852.00
TOTAL DUE FOR THIS MATTER ........ 000... cell cece eee cece eee eeeeeeee. $ 852.00
PLEASE REMIT TOTAL INVOICE BALANCE DUE ............0.0 ccc ceeeeceeeeee. 1.8 852.00

ACCOUNTS ARE DUE UPON RECEIPT

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REMITTANCE PAGE

SUBMIT REMITTANCE TO:

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Indianapolis, Indiana 46266
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CLIENT NAME: Unsecured Creditors' Committee of Auburn Foundry, Inc.
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

MATTER TITLE: Financing
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

MATTER #: 21926.0010
INVOICE #: 502554
PLEASE REMIT TOTAL INVOICE BALANCE DUE .......... 0... cece cece cece eceaee $ 852.00

ACCOUNTS ARE DUE UPON RECEIPT
Case 04-10427-reg Doc 569-3 Filed 03/07/05 Page 6of9

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LEGAL & BUSINESS ADVISORS

Unsecured Creditors' Committee of Auburn Invoice 502555 Page 1
Foundry, Inc. November 9, 2004
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203
FOR SERVICES RENDERED THROUGH October 31, 2004
Federal ID #XX-XXXXXXX
OUR MATTER # 21926.0011
Plan & Disclosure Statement
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case
10/15/04 Communications with attorney for Debtor and Chair of
Committee regarding new Plan (.3).
H. Efroymson .30 hrs. 355.00/hr §$ 106.50
Summary of Fees
Hours Rate/Hr Dollars
H. Efroymson 0.30 355.00 106.50
TOTAL 0.30 355.00 106.50
TOTAL Fees for Professional ServiceS ....... 0. cee ee eee ee ee eee eee enna $ 106.50
TOTAL DUE FOR THIS MATTER . 21... cece ee ee et ee tee ee eee ee eee ee nee eee $ 106.50
PLEASE REMIT TOTAL INVOICE BALANCE DUE ....... cece eee eee ee eee eee es $ 106.50

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CLIENT NAME:

MATTER TITLE:

MATTER #:

INVOICE #:

PLEASE REMIT TOTAL INVOICE BALANCE DUE

Unsecured Creditors! Committee of Auburn Foundry,
c/o Michael McGaughey, Chair

Citizens Gas & Coke Utility

2950 Prospect Street

Indianapolis, IN 46203

Plan & Disclosure Statement
Auburn Foundry, Inc. Chapter 11 Bankruptcy Case

21926.0011

502555

ACCOUNTS ARE DUE UPON RECEIPT

Inc.

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Unsecured Creditors' Committee of Auburn Invoice 502556
Foundry, Inc. November 9,
c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

FOR SERVICES RENDERED THROUGH October 31, 2004

Federal ID #35~-0874357

OUR MATTER # 21926.0015

Costs

Auburn Foundry, Inc. Chapter 11 Bankruptcy Case
ITEMIZED CHARGES:
10/12/04 E108 Postage Expense $
10/28/04 Outside Copying - - Vendor:Pacer Service Center 9/27/04 $

Fee to obtain copies of pleadings/dockets from the
Northern District of IN Bankruptcy Court website.
Photocopies $

TOTAL Itemized Charges ....... ce cee ee ee ee eee ee ee eee eee $
TOTAL DUE FOR THIS MATTER 2... 2. eee ee ee ee ee ee ee ew ee wee ee eee eee eee $
PLEASE REMIT TOTAL INVOICE BALANCE DUE .... ee eee ee eee ee ne $

ACCOUNTS ARE DUE UPON RECEIPT

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Page 1

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Case 04-10427-reg

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CLIENT NAME:

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REMITTANCE PAGE

Unsecured Creditors' Committee of Auburn Foundry, Inc.

c/o Michael McGaughey, Chair
Citizens Gas & Coke Utility
2950 Prospect Street

Indianapolis,

MATTER TITLE: Costs

Auburn Foundry,

MATTER #: 21926.0015

INVOICE #: 502556

PLEASE REMIT TOTAL INVOICE BALANCE DUE

IN 46203

Inc. Chapter 11 Bankruptcy Case

ACCOUNTS ARE DUE UPON RECEIPT

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